      Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 1 of 38




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

 MAUREEN DEAKIN, RACHEL
 CLERGE, LESLEY MITCHELL, MAY
 WOJCIK, DALE KESSLER, AND ALL
 OTHERS SIMILARLY SITUATED,

           Plaintiffs,                              Civil Action No. 1:17-cv-00773-KWR-KK

 v.

 MAGELLAN HEALTH, INC., et al,

           Defendants.


                            DECLARATION OF MARK D. TEMPLE

          I, Mark D. Temple, declare as follows:

          1.     I am an attorney admitted to practice in the State of Texas and in the United States

District Court for the District of New Mexico.

          2.     I am a partner with the law firm of Baker & Hostetler LLP, and counsel for

defendants Magellan Health, Inc. and Magellan HSRC, Inc. (collectively “Defendants”) in this

action.

          3.     I submit this declaration in support of Defendants’ Motion to Compel Responses to

Defendants’ Discovery Requests.

          4.     I have personal knowledge of the matters set forth in this Declaration. If called as

a witness, I could and would competently testify to these matters.

          5.     Since numerous discovery plaintiffs failed to participate in the discovery process,

the parties selected substitute discovery plaintiffs, and Defendants served these substitute

discovery plaintiffs with document requests and interrogatories on October 1, 2021. True and
     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 2 of 38




accurate copies of Defendants’ First Set of Interrogatories and First Request for Production of

Documents served on October 1, 2021 are annexed hereto as Exhibit “A”.

        6.      On October 7, 2021, a number of discovery plaintiffs provided responses to

Defendants’ discovery requests.

        7.      Although they asserted various objections, 13 discovery plaintiffs largely provided

substantive responses on October 7, 2021 and another 4 provided responses on October 14, 2021.

        8.      Discovery plaintiffs Carolina Gutierrez, David Watts, Diana Meier, Katherine

Potts, Lisa Messinger, Patrick Shanahan, Phyllis Padilla, Randall Bemer, and Susan Luscomb

provided only objections and did not provide a single substantive response. True and accurate

copies of discovery plaintiff Katherine Potts’ responses to Defendants’ discovery requests are

annexed hereto as Exhibit “B”.

        9.      Defendants’ discovery requests served on the discovery plaintiffs at-issue in

Defendants’ motion to compel are identical, and the discovery plaintiffs’ responses thereto are

largely identical.

        10.     On October 25, 2021, Defendants sent Plaintiffs’ counsel a deficiency letter

addressing the non-responsiveness of the discovery plaintiffs along with several other discovery

issues. A true and accurate copy of Defendants’ October 25, 2021 deficiency letter to Plaintiffs’

counsel is annexed hereto as Exhibit “C”.

        11.     Due to the deadline to file the instant motion, Defendants requested that Plaintiffs’

counsel simply confirm whether or not they will be providing complete responses and curing the

deficiencies set forth in Defendants’ letter by no later than 5:00pm on October 27, 2021.




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    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 3 of 38




       12.     Plaintiffs’ counsel ignored Defendants’ good faith attempt to avoid judicial

intervention and have not contacted Defendants as of this motion’s filing.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.

Executed on October 28, 2021.




                                               Mark D. Temple




                                                3
Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 4 of 38




          EXHIBIT A
         Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 5 of 38




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

    MAUREEN DEAKIN, RACHEL CLERGE,
    CHERYL JOHNSON, LESLEY MITCHELL,
    MAY WOJCIK, DALE KESSLER, AND
    ALL OTHERS SIMILARLY SITUATED,

            Plaintiff,
                                                            Civil Action No. 1:17-cv-00773-KWR-KK
    v.
                                                            DEFENDANTS’ FIRST REQUEST FOR
    MAGELLAN HEALTH, INC., MAGELLAN                         PRODUCTION OF DOCUMENTS TO
    HEALTHCARE, INC., et al.,                               PLAINTIFF KATHERINE POTTS
            Defendants.


                     DEFENDANTS MAGELLAN HEALTH, INC.’S
                 AND MAGELLAN HRSC, INC.’S FIRST REQUEST FOR
            PRODUCTION OF DOCUMENTS TO PLAINTIFF KATHERINE POTTS


         TO:    Plaintiff Katherine Potts, by and through Plaintiff’s attorney of record, Travis
                Hedgpeth, via e-mail at travis@hedgpethlaw.com.

           Pursuant to the Federal Rule of Civil Procedure 34, Defendants Magellan Health, Inc.

(“Magellan Health”) and Magellan HRSC, Inc. 1 (collectively, “Defendants”) serve its First

Request for Production of Documents to Plaintiff Katherine Potts (“Plaintiff”) and requests that

Plaintiff serve answers within 30 days.

                                                    INSTRUCTIONS

           1.       Pursuant to Rule 34(b)(2)(B), if you object to a request, the grounds for each

objection must be stated with specificity. Also pursuant to that Rule, if you intended to produce

copies of documents or of electronically stored information instead of permitting inspection, you

must so state.




1
    Defendant Magellan HRSC, Inc.’s name is misspelled in the Plaintiffs’ case heading.
     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 6 of 38




        2.       If, in responding to these requests, the responding party encounters any ambiguities

when construing a request or definition, the response shall set forth the matter deemed ambiguous

and the construction used in responding.

        3.      These requests are continuing in nature and shall apply to any amended pleadings

filed by Plaintiffs.

        4.      The following requests for production are addressed to Plaintiff and Plaintiff’s

agents or attorneys, or any of them. If the requested documents are known by Plaintiff to exist but

are not in the possession, custody, or control of Plaintiff, Plaintiff’s agents or attorneys or any of

them, it is requested that Plaintiff so indicate or produce such documents that show the name of

the person or entity in whose possession, custody, and/or control such documents are.

        5.      If any documents responsive to any request have been lost, mutilated or destroyed,

so state and identify each such document, and state to which request(s) the document would have

been responsive.

        6.      If there are no documents in Plaintiff’s possession, custody or control, which are

responsive to a particular request, so state and identify such request.

        7.      If any documents falling within any description contained in any of the following

requests is withheld under claim of privilege, Plaintiff shall serve upon the undersigned attorneys

for Defendants a written list of documents, including the following information as to each such

item: (1) its date; (2) the name(s) of the person(s) or other entity(ies) who or which drafted,

authored or prepared it; (3) its title; (4) the name(s) of the person(s) or other entity(ies) to whom it

was addressed; (5) the name(s) of each person or entity to whom the item or any copy or

reproduction thereof was ever directed, addressed, sent, delivered, mailed, given or in any other

manner disclosed; and (6) a statement of the ground or grounds on which each such document is

considered to be privileged from production.




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     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 7 of 38




                                            DEFINITIONS

       1.       “COMPLAINT” shall mean the most recent operative Complaint in Civil Action

No. 1:17-cv-00773-KWR-KK entitled Maureen Deakin, Rachel Clerge, Cheryl Johnson, Lesley

Mitchell, May Wojcik, Dale Kessler, and All Others Similarly Situated v. Magellan Health, Inc.,

Magellan Healthcare, Inc., Magellan Health Services of New Mexico, Inc., Merit Behavioral Care

Corporation, & Magellan HSRC, Inc. in the United States District Court, District of New Mexico.

       2.      “DEFENDANT” shall mean and refer to Defendants Magellan Health, Inc. and/or

Magellan HRSC, Inc. and/or both.

       3.      “YOU,” “YOUR,” “YOURS” and “PLAINTIFF” shall mean Opt-In Plaintiff

Katherine Potts and all persons acting on Katherine Potts’s behalf or pursuant to Katherine Potts’s

direction or request.

       4.      “PERSON” shall mean and include a natural person, individual, partnership, firm,

corporation, governmental office or agency or any kind of business, governmental or legal entity,

its agents, representatives or employees.

       5.      The term “DOCUMENT” or “DOCUMENTS” is used herein with its customary

broad meaning and thus includes, by way of illustration only and not by way of limitation, the

following, whether printed or reproduced by any process, or written, and/or produced by hand or

electronically, and whether or not claimed to be privileged or otherwise excludable from discovery,

namely: notes, correspondence, communications of any nature, telegrams, telephone text

messages, SMS messages, memoranda, notebooks of any kind, summaries or records of personal

conversations, diaries, routing slips, reports, publications, photographs, audiotapes, DVDs, CDs,

electronic files, computer disks, computer records, e-mails, charts, minutes or records of meetings,

transcripts of oral testimony or statements, reports and/or summaries of interviews, reports and/or

summaries of investigations, agreements and contracts, including all modifications and/or

revisions thereof; reports and/or summaries of negotiations, court papers, brochures, pamphlets,

press releases, drafts of, revisions of, translations of any document, tape recordings, records and

dictation belts and/or any other records, communications, or compilations whether in paper,


                                                -3-
     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 8 of 38




electronic, or other form, which are in Plaintiff’s possession, custody, or control, or in the custody

and control of Plaintiff’s representatives, agents, attorney or accountant, wherever located,

however produced or reproduced, including any identical or non-identical copy and whether a draft

or final version. Any document with any marks on any sheet or side thereof, including by way of

illustration only and not by way of limitation, initials, stamped indicia, any comment or any

notation of any character and not a part of the original text, or any reproduction thereof, is to be

considered a separate document for purposes of this request.

       6.      As used herein, “RELATE TO,” “RELATING TO,” or “REGARDING” means

refers to, reflects upon, or is in any way logically or factually connected with the matters discussed,

including information or documents that support or is contrary to a particular contention.

       7.      When referring to a document, “IDENTIFY” means that Plaintiff shall set forth the

general nature of the document, the author or the originator and the date of its preparation or

execution, each addressee, all individuals designated on the document to receive a copy or

otherwise hereto have received a copy, date, title and general subject matter, the present custodian

of each copy thereof and last known address of each such custodian. If such documents were, but

are no longer in your possession, custody or control, state the disposition which was made of them,

the reason for such disposition, and the date thereof.

       8.      For the purposes of these document requests, “RELEVANT TIME PERIOD” shall

mean the applicable statute of limitations period as it relates to YOUR claim(s) in this action

against DEFENDANT.

       9.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside the scope.

       10.     The use of the singular form of any word includes the plural or vice versa.




                                                 -4-
     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 9 of 38




                                      DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 1:

        COMMUNICATIONS between YOU and any current for former employee of

DEFENDANT REGARDING OR RELATING TO any of the wrongful conduct alleged in the

COMPLAINT.

RESPONSE 2 TO REQUEST FOR PRODUCTION NO. 1:



REQUEST FOR PRODUCTION NO. 2:

        All versions of YOUR resume that you have used since the start of your employment with

DEFENDANT to present that reference or describe your employment with DEFENDANT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:



REQUEST FOR PRODUCTION NO. 3:

        DOCUMENTS, including but not limited to, diaries, journals, summaries, annotated

calendars or notes, that identify the dates and/or hours you allegedly worked for DEFENDANT

during the RELEVANT TIME PERIOD.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:



REQUEST FOR PRODUCTION NO. 4:

        Witness statements obtained by YOU, or any PERSON acting on YOUR behalf, which

pertain or relate to any of the allegations in the COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:




2
 Pursuant to Local Rules of Civil Procedure - District of New Mexico 26.1, a space for an answer, response or
objection has been provided after each request for production of documents.


                                                    -5-
    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 10 of 38




REQUEST FOR PRODUCTION NO. 5:

       Copies of job inquiries, including cover letters and applications, you sent to or prepared for

an employer or potential employer other than DEFENDANT that describe or reference your

employment with DEFENDANT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:



REQUEST FOR PRODUCTION NO. 6:

       ALL DOCUMENTS concerning any complaints made by YOU to DEFENDANT or any

governmental agency at any time during YOUR employment with DEFENDANT having to do

with any of the causes of action alleged in the COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:



REQUEST FOR PRODUCTION NO. 7:

       All DOCUMENTS concerning YOUR contention that YOU are “similarly situated,” as

defined in Paragraphs 11 and 174 of the COMPLAINT, to other employees working for

DEFENDANT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:



REQUEST FOR PRODUCTION NO. 8:

       DOCUMENTS in YOUR possession or control that you believe support your claim that

you were misclassified as an exempt employee during your employment with DEFENDANT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:



REQUEST FOR PRODUCTION NO. 9:

       A download archive of any account identified in YOUR response to Interrogatory No. 3

that reference or describe YOUR employment with DEFENDANT.




                                               -6-
   Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 11 of 38




RESPONSE TO REQUEST FOR PRODUCTION NO. 9:



REQUEST FOR PRODUCTION NO. 10:

      DOCUMENTS that reflect the days and hours in which you worked for an employer,

including self-employment, other than DEFENDANT during your employment with

DEFENDANT during the RELEVANT TIME PERIOD.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:



Dated: September 30, 2021

                                          By /s/ Mark D. Temple

                                          Mark D. Temple
                                          Texas State Bar No. 00794727
                                          Federal I.D. No. 19552
                                          Baker & Hostetler LLP
                                          811 Main Street, Suite 1100
                                          Houston, TX 77002
                                          Telephone: +1 713 751 1600
                                          Facsimile: +1 713 751 1717
                                          mtemple@bakerlaw.com


                                          Attorneys for Defendants




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   Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 12 of 38




                             CERTIFICATE OF SERVICE

      I hereby certify that I caused to be served a true and correct copy of the foregoing

Defendants’ First Request for Production of Documents to Plaintiff Katherine Potts and all

accompanying papers this 30th day of September 2021 upon Travis Hedgpeth, via e-mail at

travis@hedgpethlaw.com.



                                                 By: /s/ Mark Temple
                                                         Mark Temple




                                           -8-
         Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 13 of 38



                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

    MAUREEN DEAKIN, RACHEL CLERGE,
    CHERYL JOHNSON, LESLEY
    MITCHELL, MAY WOJCIK, DALE
    KESSLER, AND ALL OTHERS
    SIMILARLY SITUATED,

            Plaintiff,                                      Civil Action No. 1:17-cv-00773-KWR-KK

    v.
                                                            DEFENDANTS’ INTERROGATORIES
    MAGELLAN HEALTH, INC., MAGELLAN                         TO PLAINTIFF KATHERINE POTTS
    HEALTHCARE, INC., et al.,

            Defendants.


                        DEFENDANTS MAGELLAN HEALTH, INC.’S
                       AND MAGELLAN HRSC, INC.’S FIRST SET OF
                   INTERROGATORIESTO PLAINTIFF KATHERINE POTTS



         TO:    Plaintiff Katherine Potts, by and through Plaintiff’s attorney of record, Travis

                Hedgpeth, via e-mail at travis@hedgpethlaw.com.

           Pursuant to the Federal Rule of Civil Procedure 33, Defendants Magellan Health, Inc.

(“Magellan Health”) and Magellan HRSC, Inc. 1 (collectively, “Defendants”) serve their First Set

of Interrogatories to Plaintiff Katherine Potts (“Plaintiff”) and requests that Plaintiff serve answers

within 30 days.

                                                INSTRUCTIONS

           1.       If the answer to the entire question is not known, so state and answer the part

known.

           2.       If a privilege or protection is asserted as a basis for withholding discovery, set forth

the nature of the claimed privilege and the nature of the information with respect to which it is

claimed.




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    Defendant Magellan HRSC, Inc.’s name is misspelled in the Plaintiffs’ case heading.
    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 14 of 38




          3.    These Interrogatories shall be deemed continuing in nature, and Plaintiff is under a

duty to supplement his responses promptly with respect to any questions directly addressed to (a)

identity and location of persons having knowledge of relevant facts and (b) the identity and

description of any documents which relate to, reflect, or arise out of the subject matter of this

litigation.

                                           DEFINITIONS

          1.    “COMPLAINT” shall mean the most recent operative Complaint in Civil Action

No. 1:17-cv-00773-KWR-KK entitled Maureen Deakin, Rachel Clerge, Cheryl Johnson, Lesley

Mitchell, May Wojcik, Dale Kessler, and All Others Similarly Situated v. Magellan Health, Inc.,

Magellan Healthcare, Inc., Magellan Health Services of New Mexico, Inc., Merit Behavioral Care

Corporation, & Magellan HSRC, Inc. in the United States District Court, District of New Mexico.

          2.    “YOU,” “YOUR,” “YOURS” and “PLAINTIFF” shall mean Opt-In Plaintiff

Katherine Potts and all persons acting on Katherine Potts’s behalf or pursuant to Katherine Potts’s

direction or request.

          3.    “DEFENDANT” shall mean and refer to Defendants Magellan Health, Inc. and/or

Magellan HRSC, Inc. and/or both.

          4.    “PERSON” and “PERSONS” as used in these Interrogatories means any

individual, firm, partnership, corporation, committee, association, political action group, or other

entity.

          5.    “DOCUMENT” or “DOCUMENTS” means any writing, record, or other graphic

matter of any type or description, including but not limited to, originals (or, if you lack the original,

whatever type of copy you have) of any agreements, correspondence, letters, telegrams, telephone

text messages, office communications, memoranda, reports, records, expense vouchers,

handwritten notes, notebooks, scrapbooks, dairies, photographs, photocopies, charts, recordings,

descriptions of telephone conversations, electronic mail, computer records, computer files,

computer disks, and any other records, communications, or compilations whether in paper,

electronic, or other form, which are in Plaintiff’s possession, custody, or control, or in the custody

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    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 15 of 38




and control of Plaintiff’s representatives, agents, attorney or accountant, wherever located,

however produced or reproduced, including any identical or non-identical copy and whether a draft

or final version.

        6.      “DESCRIBE” as used in these Interrogatories in connection with any act,

occurrence, omission, or series of acts, occurrences, or omissions requires the following

information:

             a. The identity of each and every person involved in the act, occurrence, omission, or

                series of acts, occurrences, or omissions as provided in the definition of

                “IDENTIFY”;

             b. The date or dates of each and every act, occurrence, or omission;

             c. A brief description of the act, occurrence, omission, or series of acts, occurrences,

                or omissions and the substance of any contact or communication in connection

                therewith; and

             d. A description of each and every document involved in the act, occurrence,

                omission, or series of acts, occurrences, or omissions.

        7.       “IDENTIFY” or “IDENTIFIED” as used in these Interrogatories in connection

with any person or persons requires the following information for each person:

                e.      The person’s full name;

                f.      The person’s last known business address and telephone number;

                g.      The person’s last known home address and telephone number;

                h.      The person’s last known employer; and

                i.      The person’s last known title, position, or business.

        8.      For the purposes of these interrogatories, “RELEVANT TIME PERIOD” shall

mean the applicable statute of limitations period as it relates to YOUR claim(s) in this action

against DEFENDANT.




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    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 16 of 38




        9.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside the scope.

        10.     The use of the singular form of any word includes the plural or vice versa.

                                        INTERROGATORIES

INTERROGATORY NO. 1:

        IDENTIFY the job titles or positions YOU had during the RELEVANT TIME PERIOD,

including but not limited to job titles or positions with DEFENDANT, and IDENTIFY the

employer with whom YOU held each title or position.

RESPONSE 2 TO INTERROGATORY NO. 1:



INTERROGATORY NO. 2:

        DESCRIBE YOUR job duties as part of your employment with DEFENDANT during the

RELEVANT TIME PERIOD.

RESPONSE TO INTERROGATORY NO. 2:



INTERROGATORY NO. 3:

        Do you have a LinkedIn or other professional networking account? If so, IDENTIFY each
such account and the name associated with same account.

RESPONSE TO INTERROGATORY NO. 3:



INTERROGATORY NO. 4:

        IDENTIFY any professional licenses or certificates you held during the RELEVANT

TIME PERIOD.




2
 Pursuant to Local Rules of Civil Procedure - District of New Mexico 26.1, a space for an answer, response or
objection has been provided after each interrogatory.

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    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 17 of 38




RESPONSE TO INTERROGATORY NO. 4:



INTERROGATORY NO. 5:

       IDENTIFY all academic degrees or licenses YOU have received or earned before or during

your employment with DEFENDANT, including the name of the degree or license, the institution

granting the degree or license and the date received.

RESPONSE TO INTERROGATORY NO. 5:



INTERROGATORY NO. 6:

       IDENTIFY the number of hours you claim you worked for DEFENDANT each week

during the RELEVANT TIME PERIOD.

RESPONSE TO INTERROGATORY NO. 6:



INTERROGATORY NO. 7:

       IDENTIFY all damages YOU contend that YOU have suffered as a result of the wrongful

conduct alleged in YOUR COMPLAINT, including your method for computing such damages.

RESPONSE TO INTERROGATORY NO. 7:



INTERROGATORY NO. 8:

       IDENTIFY the individuals you believe have knowledge regarding your hours worked or

job duties for DEFENDANT during the RELEVANT TIME PERIOD.

RESPONSE TO INTERROGATORY NO. 8:



INTERROGATORY NO. 9:

       IDENTIFY any source of income You received during employment with DEFENDANT

other than DEFENDANT during the RELEVANT TIME PERIOD.

RESPONSE TO INTERROGATORY NO. 9:

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   Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 18 of 38



Dated: September 30, 2021

                                      By /s/ Mark D. Temple

                                      Mark D. Temple
                                      Texas State Bar No. 00794727
                                      Federal I.D. No. 19552
                                      Baker & Hostetler LLP
                                      811 Main Street, Suite 1100
                                      Houston, TX 77002
                                      Telephone: +1 713 751 1600
                                      Facsimile: +1 713 751 1717
                                      mtemple@bakerlaw.com


                                      Attorneys for Defendants




                                   -6-
    Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 19 of 38



                                CERTIFICATE OF SERVICE

       I hereby certify that I caused to be served a true and correct copy of the foregoing

Defendants’ First Set of Interrogatories to Plaintiff Katherine Potts sand all accompanying papers

this 30th day of September 2021 upon Travis Hedgpeth, via e-mail at travis@hedgpethlaw.com.




                                                    By: /s/ Mark Temple
                                                            Mark Temple




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Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 20 of 38




          EXHIBIT %
      Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 21 of 38

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</@3=/-9<</->+..>99<-6+<30C+8C90>2/=>+>/7/8>=:<9:9?8./.2/</38
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     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 22 of 38

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     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 23 of 38

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     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 24 of 38

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      Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 28 of 38



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85@53-@5;:;>-:E;@41>85@53-@5;:-:0.-:E2A>@41>019-:02;>05?/;B1>E5:B;8B5:3;>>18-@5:3

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19<8;E91:@-:0:;@6;5:@8E19<8;E10.E9A8@5<81H"-3188-:1-8@4I121:0-:@?$<@:%8-5:@522

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@41@E<1?;285/1:?5:35:2;>9-@5;:@4-@C;A80.1>1?<;:?5B1@;@45?>1=A1?@$<@:%8-5:@5222A>@41>

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?@-9<10 1:@>51? ;> 0;/A91:@? 19-58 91@- 0-@- @591 ?@A051? ?1/A>5@E 8;3? 5:B;5/1? 1D<1:?1

>1<;>@?.588?-:0C;>7?/410A81?'A.61/@@;@41<>;0A/@5;:;2?A/40;/A91:@?$<@:%8-5:@522

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>13A8->>-@1;2<-E2;>-88@591C;>7105:1D/1??;22;>@E 4;A>?5:5:05B50A-8C;>7C117?$<@

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Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 35 of 38




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      Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 36 of 38




October 25, 2021
                                                                           Mark D. Temple
                                                                           direct dial: 713.646.1324
VIA EMAIL (TRAVIS@HEDGPETHLAW.COM)                                         mtemple@bakerlaw.com


Re:     Deakin, et al v. Magellan Health, Inc., et al, Case No.: 1:17-cv-00773-KWR-KK

Dear Travis:

Pursuant to Fed. R. Civ. P. 37, this letter shall serve as Defendants Magellan Health, Inc. and
Magellan HSRC, Inc.’s (collectively “Defendants” or “Magellan”), effort to resolve discovery
deficiencies with regard to Opt-In Plaintiffs’ (collectively “Discovery Plaintiffs”) October 7, 2021
and October 14, 2021 responses to Magellan’s First Set of Interrogatories (“Interrogatories”) and
First Set of Requests for Production (“RFP”), as well as other issues with Plaintiffs’ responses to
Defendants’ discovery requests.

As you are aware, in connection with the substitute Discovery Plaintiffs’ October 7, 2021
responses, Magellan’s deadline to file a motion to compel is October 28, 2021. Therefore, please
confirm whether you will be providing complete responses and curing the deficiencies set forth
below by no later than 5:00pm on October 27, 2021, so that we may avoid having to seek judicial
intervention pursuant to the Federal Rules of Civil Procedure. This letter does not, nor is it
intended to, waive any objections or arguments that Magellan may have regarding Plaintiffs’
discovery responses that are not specifically raised below.

Numerous Discovery Plaintiffs Failed to Respond to Magellan’s Interrogatories and RFP

Initially, the following thirteen (13) Discovery Plaintiffs’ October 7, 2021 responses to Magellan’s
Interrogatories and RFP merely set forth objections with no substantive responses to any of the
requests: (1) Carolina Gutierrez; (2) David Watts; (3) Delia Munoz; (4) Diana Meier; (5) Francisco
Alonzo; (6) Katherine Potts; (7) Laura Swofford; (8) Lisa Messinger; (9) Patrick Shanahan; (10)
Phyllis Padilla; (11) Randall Bemer; (12) Sammi Lo; and (13) Susan Luscomb. Please provide
amended responses for these Discovery Plaintiffs that properly respond to Magellan’s RFP and
Interrogatories.

Your October 7, 2021 correspondence stated that you have been unable to reach the following
Discovery Plaintiffs, resulting in their failure to provide responses to Defendants’ Interrogatories
and RFP: (1) Susan Luscomb; (2) Randall Bemer; and (3) Lisa Messinger. Additionally, two (2)
Discovery Plaintiffs that were previously identified in our August 30, 2021 deficiency letter, i.e.,
     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 37 of 38

Page 2


Natacha Grant and Catherine Garcia, have still not provided responses to Magellan’s
Interrogatories and RFP. Please provide compete responses for these Plaintiffs no later than
5:00pm on October 27, 2021.

Interrogatory Number 7

Interrogatory number 7 requests identification of all damages Discovery Plaintiffs contend they
suffered as a result of the wrongful conduct alleged in the Second Amended Complaint, including
the method for computing such damages. Despite such a clear request (and the fact that you have
provided this information for other Discovery Plaintiffs), the following seventeen (17) Discovery
Plaintiffs (of those who have actually provided substantive responses to the Interrogatories) have
nonetheless failed to set forth the monetary damages they contend to have suffered: (1) Alfred
White; (2) Alisa Plackett; (3) Arlene LaFaire; (4) Beth Deja; (5) Debbie Miller; (6) Helen Evans;
(7) Janice Jones; (8) JoAnna Bova; (9) Kenneth Reyes; (10) Lesley Mitchell; (11) Novlett Lee;
(12) Ricky Kimes; (13) Sammi Lo; (14) Sue (Ellen) Owen; (15) Tammy Malcom; (16) Terrie
Kemp (Nelson); and (17) Trang Tran. Please provide complete answers to this Interrogatory.

Interrogatory Number 9

Interrogatory number 9 requests other sources of income that the Discovery Plaintiffs received
during their employment with Magellan during the relevant time period. Plaintiffs tacitly concede
the relevant nature of this request by noting specific “irrelevant” sources of income such as
disability payments, pensions, and private sources of income but not the relevant sources such as
other employment or work for which they garnered income. For purposes of clarity, Interrogatory
number 9 seeks only information as to sources of income that were derived from Discovery
Plaintiffs’ other employment, work, or personal businesses while they were employed by Magellan
during the relevant statutory period. Please provide complete responses to this Interrogatory.

Missing Documents

As part of Plaintiffs’ rolling production of documents, it appears that no documents have been
provided for the following Bates numbers: 376-379; 534-537; 558; 560-561; 584-589; 601-605;
and 609-617. Please provide the documents bearing the above-referenced Bates numbers.

Thank you for your attention to these matters. If there is anything addressed herein that you would
like to discuss, please contact me.

                                                            Sincerely,



                                                            Mark D. Temple




cc: (via email)

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     Case 1:17-cv-00773-MLG-KK Document 195-1 Filed 10/28/21 Page 38 of 38

Page 3



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